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                       EXHIBIT D




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                                                                                      Razel Pajarillo <razel@metcalflawteam.com>



Fwd: Dear Judge Kelly,
1 message

Steven A. Metcalf II, Esq. <metcalflawnyc@gmail.com>                                                       Thu Aug 17, 2023 at 2:43 PM
To: Razel Pajarillo <razel@metcalflawteam.com>




 ---------- Forwarded message ---------
 From: Lisa Magee <lmagee1@icloud.com>
 Date: Thu, Aug 17, 2023 at 2:35 PM
 Subject: Dear Judge Kelly,
 To: Steve Metcalf <Metcalflawnyc@gmail.com>


 Dear Judge Kelly,
 Im not really sure where to begin. The past two and a half years of my life have been, to say the least something one would never
 envision their life to become. The events of Jan 6th, I believe have had more of an impact on the families’ lives than everyone else’s.
 For most, that day is something that has come and gone, for the families each day is riddled with uncertainty and fear. Since that day I
 have received heinous material sent to my home in the mail, to which I had to tell my daughters they were no longer allowed to get
 the mail. I have been hospitalized because of the stress, and my family even though receiving support from the community is in
 financial crisis. Dominic was the wage earner in our home. Our children and I relied on him for our daily needs. I worked as a social
 worker, at a non-profit, making barely minimum wage, not nearly enough to support a family. When the 6th occurred I was in
 graduate school and had left my non-profit position.

 Since graduating I have been unable to secure employment, I can only imagine why, when my name is googled, Dominic appears, that
 is my new reality. I have lost my partner of 22 years, my confidant, my best friend. Trying to figure out how to navigate life as a
 single parent and sole provider for two college students has been an extreme struggle. I have had to watch my children struggle
 through the past few years, scared, depressed, bullied, and ashamed to name a few. I had to watch my child go to school in fear each
 day of her senior year as she was a minority in her school and the news had perpetuated that her father was part of a white supremacy
 group which we know is untrue. I have had to spend countless hours calling the jails and Marshalls inquiring about Dominic’s lack of
 needed medical care as he has several pre-existing conditions and has developed more as a direct result of his incarceration and lack
 of care. It’s a never-ending carousel.

 I believe that we all, ALL need to take accountability for our actions which I believe Dominic did on that stand. He asked to be judged
 for HIS behavior, which on that day was what I believe a . Dominic is not a man of violence, he’s not a man of anger and hate. The I
 person I know is compassionate, giving, loyal, and kind to name a few. Dominic has always been there for me and supported me as a
 mother and as a woman. He pushed me to pursue my dream and encouraged our girls every day to follow theirs. It is known that a
 person’s past behavior is indicative of their future behavior. For 45 years Dominic behaved in such a way most would envy. He
 worked hard, took care of his family, and was a law-abiding, productive member of the community and that’s the man he will return
 to being when he is allowed to come back home. I truly believe that the chaos of that day overwhelmed and overtook so many
 individuals. I believe the past two and a half years of incarceration have already changed Dominic and he will continue to have
 struggles in the future related to his incarceration. I plead with your Honor to impose a sentence that is fair and just while also
 considering the many others who will also be serving this sentence alongside him.

 Sincerely,
 Lisa Magee


 --
 Steven A. Metcalf II, Esq.
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